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                         UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF NEW HAMPSHIRE

In re:                                                 Chapter 7
ALWARD, NICOLE                                         Case No: 15-11155 BAH



       Debtor(s)

   NOTICE OF WITHDRAWAL OF TRUSTEE’S REPORT OF NO DISTRIBUTION

       Steven M. Notinger, Chapter 7 Trustee for the above-referenced estate hereby

WITHDRAWS the Trustee’s Report of No Distribution filed on June 13, 2016. The Debtor did

not disclose a potential medical malpractice claim on her bankruptcy schedules as she did not

believe it had any value. The debtor was discharged and the bankruptcy case was closed.

Debtor later obtained counsel to pursue the claim and filed a motion to reopen the bankruptcy

case. The bankruptcy case was reopened on November 14, 2016. The Trustee set a claims bar

date but neglected to withdraw Trustee’s Report of No Distribution.



                                                Respectfully Submitted,
                                                Steven M. Notinger
                                                Chapter 7 Trustee

May 8, 2019                                     /s/ Steven M. Notinger
                                                Steven M. Notinger (03229)
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